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Attorneys for Defendant
GANNETT CO., INC.

IN TI-IE UNITED STATES DISTRICT COURT
FOR THE DISTR]CT OF IDAHO

JUDITH WORRELL-PAYNE, an individual, )
)
Plaintiff, ) Case No. CIV 98~0228-S-EJL
)
vs. ) DEFENDANT’S MEMORANDUM
) IN SUPPORT OF MOTION TO
GANNETT CO. INC., a corporation dfb/a The ) DISMISS ALLEGATIONS IN
Idaho Statesman, ) PLAINTIFF’S FIRST AMENDED
) COMPLAINT
Defendant. )

 

I. INTRODUCTION

After previously being informed of the federal requirements for stating a valid claim
against Defendant Gannett Co., Inc. (“Gannett”), and voluntarily amending her Complaint in
response thereto, the First Amended Complaint of Plaintiff Judith Worrell-Payne still fails to
satisfy these requirements Thus, Gannett seeks an order dismissing With prejudice certain
allegations asserted by Plaintiff in her First Amended Complaint because these allegations fail to
state a claim upon which relief may be granted See F.R.C.P. B(a), 12(b)(6).

Il. PROCEDURAL BACKGROUND

On November 16, 1998, Plaintiff served a Complaint upon Gannett, alleging that from
May 3, l996 to April 8, 1998, Gannett “printed 100 articles and editorials the subject of each of
Which Was Judith Worrell~Payne, her employment with the Authorities, her personal life, and her

employment elsewhere.” See Complaint 11 6. Plaintiff failed to identify specific factual allegations

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in support of her numerous claims against Gannett. lnstead, Plaintiff generally alleged that Gannett
“either implied or stated explicitly that the Plaintiff was guilty of serious wrongdoing, that she had
misappropriated public funds, that she had acted contrary to law, that she enjoyed an elegant and
extravagant lifestyle, that she was guilty of excessive absenteeism for her workplace, and that she
engaged in nepotism favoring members of her family in the discharge of her duties.” ]d. ii 7.

On December 7, 1999, Gannett filed a motion to dismiss Plaintiff s Complaint on the
basis that the Complaint failed to meet the basic requirements of defamation notice pleading In
support of its motion to dismiss, Gannett demonstrated that Plaintist Complaint failed to identify
what §Ufi£ statements allegedly made by Gannett between May 3, 1996 and April 8, 1996, are at
issue and alleged to be actionable under @y legal theory. See Defendant’s Memorandum of Points
and Authorities in Support of Its Motion to Dismiss Plaintiffs Complaint (hereinafter “First Motion
to Dismiss”).

Before this Court could rule on Gannett’s first motion to dismiss, Plaintiff served Gannett
With a First Amended Complaint, which identified some specific statements allegedly made by
Gannett between May 3, 1996 and April 8, 1996. See First Amended Complaint 1111 8, 9. However,
Plaintiff did not -- and has not -- identified specific statements in each of the laundry list of articles
alleged to be actionable See First Amended Complaint if 6. In all, Plaintiff has failed to specify
statements in fifty-four (54) articles otherwise listed as actionable in her First Amended Complaint.
It is for this reason that Gannett brings this second motion to dismiss

III. DISCUSSION
A. Plaintiff’s First Amended Complaint Must be Dismissed.

Both the Court and Plaintiff are well aware of the federal requirements for stating a claim

for defamation: a complaint which leaves a defendant to guess which statements are alleged to be

defamatory fails to give the defendant fair notice of the claim and the grounds on Which it rests, and

must therefore be dismissed Under Federal Rule of Civil Procedure S(a), a complaint must present

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distinguished from a bare averment that he wants relief and is entitled to it.” Nagfer v. Admz`ral
Corp., 248 F.2d 319, 324 (2d Cir. 1957) (quoti'ng Report of Proposed Amendments, October 1955
p. 18-19 on Preliminary Draft, May 1954, p. 8-9, Advisory Committee explanatory note of F.R.C.P.
Rule 8(a)(2)). When the plaintiff fails to satisfy Rule 8(a), a motion to dismiss pursuant to Federal
Rule of Civil Procedure 12(b)(6)J for failure to state a claim upon which relief can be granted, is
appropriate A 12(b)(6) motion “tests the formal sufficiency of the statement of claim for relief.”
Fednav Ltd. v. Sterling 1111 ’l, 572 F. Supp. 1268, 1270 (N.D.Cal. 1983). “Mere conclusory
allegations unsupported by factual assertions Will not withstand a motion to dismiss and [the Court
is] not bound to accept them as true.” ln re Kefton Motors, Inc., 121 B.R. 166, 188 (D.Vt. 1990)
(citing Papsan v. Allain, 478 U.S. 265, 286 (1986)).

Rule 8(a)’s requirement of particularity is more stringently applied in a defamation suit that
concerns newsgathering activities because such activities presumptively are entitled to protection
under the First Arnendment. See, e.g. , Franchfse Really Inrerstate Corp. v. San Francr'sco Local
Joint Executive Bd., 542 F.2d 1076, 1082-83 (9th Cir. 1976) (in cases involving “conduct which is
prima facie protected by the First Amendment, the danger that the mere pendency of the action will
chill the exercise of First Amendment rights requires more specific allegations than would otherwise
be required”); Manns v. The Leather Shop, Inc., 960 F. Supp. 925, 928 (D.V.l. 1997) (“an allegation
of defamation in a complaint is subject to a more stringent standard of pleading under Rule 8 than is
usually the case”); Classic Communicatfons, Inc. v. Rural Tel. Serv. Co., Inc., 956 F. Supp. 910, 920
(D. Kan. 1997) (“the general rule of liberally construing a complaint when considering 12(b)(6)
motions is inapplicable to certain traditionally disfavored causes of action, including defamation”);
AMCOR Inv. Corp. v. Cox Ariz. Publications, Inc., 764 P.2d 327, 329 (Ariz. 1988) (court must
“examine the complaint With a more rigorous eye” ; Long v. Egnor, 346 S.E.2d 778 (W. Va. 1986)
(First Amendment requires that a libel complaint “demonstrate on its face” sufficient facts to
support the elements of a defamation claim and, if not, a motion to dismiss should be granted). See

also 5 C. Wright & A. Miller, F ederal Pmctz'ce and Procedure § 1245 (an allegation of defamation

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in a complaint is subject to a more stringent standard of pleading under Rule 8 than is usually the
case) and § 1357 (Civ.2d 1990).

To survive a motion to dismiss, a defamation complaint must, at a minimum, identify the
specific statements alleged to have defamed the plaintiff See, e_g., Phantom Touring, Inc. v.
Ajj‘z`liatea’ Publicatfon.s, 953 F.2d 724, 728 n.6 (lSt Cir. 1992) (“a defendant is entitled to knowledge
of the precise language challenged as defamatory, and the plaintiff therefore is limited to its
complaint in defining the scope of the alleged defamation”); Manns, 960 F. Supp. at 928-29 (“a
complaint of defamation must, on its face, specifically identify what allegedly defamatory
statements were made by whom and to whom”) (internal quotation marks and citation omitted);
Kirkland v. City of Peekskill, 634 F. Supp. 950, 953 (S.D.N.Y. 1986) (defamation plaintiff does not
satisfy notice pleading requirements of Federal Rules of Civil Procedure unless he specifically
alleges “the words said to be actionable”); Herbert v. Lando, 603 F. Supp. 983, 990-91 (S.D.N.Y.
1985) (notice pleading principles require that the defamatory words be set forth in complaint), of d
in relevant part, 781 F.2d 298 (2d Cir. 1986). Only with notice of the actual statements at issue is
the defendant able to file a responsive pleading and mount a defense. Freeman v. Bechtel Constr.
Co., 87 F.3d 1029, 1031 (8th Cir. 1996) (“unless the complaints set forth the alleged defamatory
statements and identify the persons to whom they were published, [defendant] is unable to form
responsive pleadings”) (intemal quotation marks omitted); Woodard v. American Famr`ly Mut. Ins_
Co., 950 F. Supp. 1382, 1388 (N.D. lll. 1997) (“The reason a plaintiff must, under notice pleading
requirements, plead the specific words alleged to be actionable is that knowledge of the exact
language used is necessary to form responsive pleadings.”).

Plaintiff has previously been provided an opportunity to amend her Complaint and set forth
the specific statement(s) in each of the articles that Plaintiff claims to be actionable Although
Plaintiff s First Amended Complaint identifies specific statement(s) in forty-three (43) of the
articles, Plaintiff has failed to identify specific statements in the remaining fifty-four (54) articles

she generally alleges to be actionable These articles include:

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05/19/96
05/19/96
05/21/96
05/22/96

Title
Inquiry of Housing Agency Launched

lnvestigation Into Housing Authority is the
Right Move

Housing Leaders Asked to Step Aside

Housing Officials Can Assure Taxpayers
by Stepping Aside

Housing Authority Fired Whistle-Blower
HUD to Look Into Housing Agency

Housing Chairrnan Will Lose Post, Glenn
Says

Housing Authority Director Defends
Management Style

Officials Let lt All Occu.r Again
Director Says Judge Sought Deal

Controversy Frightens Some Housing
Tenants

Police Seize Evidence from Housing
Authority

3 Commissioners Say Housing Chief
Should Step Down

Tenants Fume Over Housing Director
Housing Chief’ s Travel Questioned
Commissioners Look to Fill Seat

Housing Agency Fuzzy on Rent-To~Own
Details
Subtitle: Women Question Worrell’s Lawn

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Charles Etlinger

Editorial

Marty Trillhaase

Editorial

Frank Lockwood
Frank Lockwood

Frank Lockwood

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Dan Popkey
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06/12/96
06/16/96

06/20/96

06/23/96

07/11/96
07/16/96

07/17/96

Taxpayers Could Foot Hudgins Place Bill
Leaders Fail Renters, Citizens

Housing Board Will Meet to Discuss
Future

Boise Refuses to Pay Housing Grant
Worrell-Payne Faces New Challenges
Hudgins Quits Post at Housing Authority
Hold Hiring Process in Public

Housing Director Must Go

Review Authority’s Structure

Officials Set to Scrutinize Agency Closely
Bisterfeldt Blasts Glenn with Insults

Commission Clash Shows Need for New
Forrn of Govemment

Council Member: No Call to Stop Printing
Stories

Housing Handled Properly
Board Transforrned
Agencies Have Power of Eminent Domain

Tenants Pleased Worrell-Payne is Gone,
Hope `['heir Situation Will lmprove Now

Congress Should Take on Affordable-
Housing Problems

Glenn Ought to Find Time for His lob
Housing Board Cuts Spending

Housing Residents are Job 1

DEFENDANT’S MEMO lN SUPPORT OF MOTION TO DISMISS - Page 6
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Frank Lockwood
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Sara Baker

Vemon Bisterfeldt
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Dan Popkey
Frank Lockwood
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11/10/97

04/08/98

Housing Authority Scandal Opened This
Whistle-Blower’s Eyes

Continue Nationwide Search for Affordable
Housing Chief

Expand Rent-To-Own Program

Public House Mess: Move Forward With
Better Program

This Year’s Top Stories

Home Ownership an ‘Awesome’
Possibility

Home Ownership Benefits All

Soaring Prices, Red Tape Block Path to
Affordable Housing

Headline: Housing Sign-Ups Begin Anew
in May

Subhead: Authority’s Director Has Cut
Waiting List by More Than TWo-Thirds

Housing Agency Moves Ahead

Headline: Housing Agency: Ex-Chief Lied
Subhead: Worrell-Payne Disputes Charge
of Perjury, Says She’s Owed Severance

300 Applicants File to Get on List for
Affordable Housing

Headline: Board Chairman’s Term Expires;
City, County Seek New Member

Headline: Apartments for Seniors in the
Works

Subhead: Housing Officials Want to
Expand Downtown’s Shoreline Plaza

Headline: Housing Official Praises
Worrell-Payne

Subhead: Ex-Agency Chief Was Fired in
1996 from Job in ldaho

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Don Barker

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Charles Etlinger

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Steve Bard

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(These 54 articles will collectively be referred to as the “Nonspecific Articles”).
Because Plaintiff’s First Amended Complaint gill fails to identify what specific statements
allegedly made by Gannett within each of these Nonspecific Articles are at issue and alleged to be

actionable under Lv legal theory, the Court should dismiss Plaintist claims arising out of them.

B. Plaintiff Should Not be Allowed to Amcnd Her Complaint a Second Time at This
Late Stage of the Litigation.

Although Rule 15(a) of the Federal Rules of Civil Procedure provides that leave to amend

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“shall be freely given when justice so requires, [t]he district court’s discretion to deny leave to
amend is particularly broad where plaintiff has previously amended the complaint.” Allen v. Cilj) of
Beverly Hr`lls, 911 F.2d 367 (9th Cir. 1990) (quoting Ascon Properties, Inc. v. Mobil Ofl Co., 866
F.2d 1149, 1160 (9th Cir. 1989)). In assessing whether to grant plaintiff leave to amend the
complaint, a district court should consider the following factors: “(l) bad faith, (2) undue delay, (3)
prejudice to the opposing party, (4) futility of arnendment, and (5) whether plaintiff has previously
amended his complaint.” Id. (quoting Ascon, 866 F.2d at 1160); Kenfston v. Roberts, 717 F.2d
1295, 1300 (9lh Cir. 1983) (citing Foman v. Davz's, 371 U.S. 178, 182 (1962)). See, e.g., McGlr`nchy
v. Shell Chem. Co., 845 F.2d 802, 809-10 (9‘“"l Cir. 1988) (affirrning district court’s denial of leave to
amend complaint because of undue delay by plaintiff, prejudice to defendant, and plaintiff’s
repeated failure to cure deficiencies in prior amendments to complaint). Here, all factors weigh
heavily against further amendment of Plaintist First Amended Complaint

First and most significantly, Plaintiff has ;a~l_r_eM been provided with an opportunity to
amend her Complaint to solve the fatal deficiencies complained of here See First Motion to
Dismiss. As such, Plaintiff clearly understood the importance of identifying specific statements
alleged to be actionable Nevertheless, Plaintiff blatantly failed to identify specific statements in §
of the articles, leaving this Court and Gannett to guess what Gannett allegedly said or did wrong

Where, as here, the plaintiff fails in her complaint to identify the specific statements that she
claims defamed her, the appropriate remedy is dismissal See, e. g_, Bopal v. Rennselaer Poiytechnic

Inst., 916 F.Zd 759, 763 (2d Cir. 1990) (district court properly dismissed defamation claims where

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plaintiff failed “to plead adequately the actual words spoken, publication or special damages”).
lndeed, “[i]t is not up to the defendant or this court to ferret out what statements the plaintiff is
referring to in support of her defamation claim. Accordingly, [the defamation claim] must be
dismissed for failing to provide a short plain statement showing that the pleader is entitled to relief.
F.R.C.P. 8.” Manns, 960 F. Supp. at 929. See also Vantassell-Matr`n v. Nelson, 741 F. Supp. 698,
707 (N.D. Ill. 1990) (Plaintiff alleging defamation must “recite the precise language alleged to be
defamatory. In the absence of such specific allegations, dismissal of a complaint is appropriate.”)
(footnote omitted); Rice v. Comtek Mfg. ofOregon, Inc., 766 F. Supp. 1539, 1541-42 (D. Or. 1990)
(plaintiff’ s defamation claim dismissed for failure to “allege who uttered the statements, when the
statements were uttered, whether the statements were oral or written, or any of the other facts
allowing defendants to identify the allegedly wrongful conduct”); Sorz`n v. Board of Educ. of the
City Sch. Dist. of War'rensvr'lle Heights, 464 F. Supp. 50, 53 (N.D. Ohio 1978) (defamation claim
dismissed where plaintiff failed to “set forth in the complaint [the allegedly defamatory statement]
substantially in the language uttered”).

The second and equally compelling reason to deny Plaintiff the ability to flnther amend her
First Amended Complaint is the undue delay she has taken to identify what, if any, statements in the
Nonspecific Articles are actionable It is now more than ten (10) months since Plaintiff served
Gannett with her Complaint, and less than three (3) months remain before the deadline for the
completion of discovery. During this period of time, Plaintiff never offered further amendments to
her First Amended Complaint to identify allegedly offending statements in the Nonspecific Articles,
despite the fact that the parties have engaged in significant written discovery. There is simply no
excuse for Plaintiff" s failure to timely amend her First Amended Complaint to allow Gannett the
ability to mount an appropriate defensel

Finally, given this passage of time and Plaintiff s failure to provide Gannett with any

Specific information as to what it allegedly did wrong, serious prejudice would result to Gannett if

 

l This fact lends itself to the “bad faith” factor set forth in Allen v. City of Beverly Hills,
supra

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Plaintiff was granted leave to amend her First Amended Complaint Gannett could not conduct the
massive amount of discovery that would be required to respond to additional statements identified at
this late stage of the case

Given this, the balance of equities should fall squarely on the side of not allowing Plaintiff
to, once again, amend her First Amended Complaint to conform to the Federal Rules of Civil
Procedure and relevant caselaw. This is particularly true since dismissal of all claims related to the
Nonspecific Articles still leaves Plaintiff with forty-three (43) other articles upon which to base her
claims against Gannett.

IV. CONCLUSION
F or the foregoing reasons, Gannett respectfully requests that this Court grant its motion to

dismiss with prejudice all of Plaintiff s claims arising out of the Nonspecific Articles.

DATED this 'Wi day or october, 1999.

 

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CERTIFICATE OF SERVICE

l HEREBY CERTIFY that on this §]/ day of October, 1999, l caused a true and correct
copy of the foregoing DEFENDANT’S M MORANDUM IN SUPPORT OF MOTION TO
DISMISS ALLEGATIONS IN PLAINTIFF’S PIRST AMENDED COMPLAINT to be
deposited in the United States Mail, postage prepaid, and addressed to the following:

Donald W. Lojek, Esq.
Lojek Law Offices, Chtd.
305 West Fort Street
P.O. Box 1712

Boise, Idaho 83701

/ 7 Susan M. Heneise

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